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 1                                 UNITED STATES DISTRICT COURT

 2                              NORTHERN DISTRICT OF CALIFORNIA

 3                                      SAN FRANCISCO DIVISION

 4   IN RE CATHODE RAY TUBE (CRT)                     No. 07-cv-5944-SC
     ANTITRUST LITIGATION,                            MDL No. 1917
 5

 6   This Document Relates to:                        [PROPOSED] ORDER GRANTING
                                                      THOMSON CONSUMER’S MOTION TO
 7   Electrograph Systems, Inc., et al. v.            DISMISS NEWLY FILED DIRECT
     Technicolor SA, et al., No. 13-cv-05724;         ACTION PLAINTIFFS’ COMPLAINTS
 8

 9   Alfred H. Siegel, as Trustee of the Circuit
     City Stores, Inc. Liquidating Trust v.
10   Technicolor SA, et al., No. 13-cv-00141;
11   Best Buy Co., Inc., et al. v. Technicolor SA,
12   et al., No. 13-cv-05264;

13   Interbond Corporation of America v.
     Technicolor SA, et al., No. 13-cv-05727;
14
     Office Depot, Inc. v. Technicolor SA, et al.,
15   No. 13-cv-05726;
16
     Costco Wholesale Corporation v.
17   Technicolor SA, et al., No. 13-cv-05723;

18   P.C. Richard & Son Long Island
     Corporation, et al. v. Technicolor SA, et al.,
19   No. 31:cv-05725;
20
     Schultze Agency Services, LLC, o/b/o
21   Tweeter Opco, LLC, et al. v. Technicolor SA,
     Ltd., et al., No. 13-cv-05668;
22
     Sears, Roebuck and Co. and Kmart Corp. v.
23   Technicolor SA, No. 3:13-cv-05262;
24
     Target Corp. v. Technicolor SA, et al., No.
25   13-cv-05686

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     [PROPOSED] ORDER GRANTING THOMPSON                               No. 07-5944-SC; MDL No. 1917
     CONSUMER’S MOTION TO DISMISS NEWLY
     FILED DAP COMPLAINTS
         Case 4:07-cv-05944-JST Document 2353-2 Filed 01/27/14 Page 2 of 2



 1            Upon consideration of the Thomson Consumer’s Notice of Motion and Motion to Dismiss

 2   Newly Filed Direct Action Plaintiff Complaints and supporting Memorandum of Authorities, it is

 3   hereby

 4            ORDERED that the Thomson Consumer’s Motion to Dismiss Newly Filed Direct Action

 5   Plaintiff Complaints is GRANTED, and the claims against Thomson Consumer in in Best Buy Co.,

 6   Inc. v. Technicolor SA, No. 13-cv-05264; Siegel v. Technicolor SA, No. 13-cv-00141; Costco

 7   Wholesale Corp. v. Technicolor SA (f/k/a Thomson SA) et al., No. 13-cv-05723; Electrograph

 8   Systems, Inc. v. Technicolor SA, No. 2:13-cv-05724; Interbond Corp. of Am. v. Technicolor SA, No.

 9   13-cv-05727; Office Depot, Inc. v. Technicolor SA, No. 13-cv-05726; P.C. Richard & Son Long

10   Island Corp. v. Technicolor SA, No. 13-cv-05725; Sears, Roebuck & Co. v. Technicolor SA, No. 13-

11   cv-05262; Schultze Agency Services, LLC v. Technicolor SA, No. 13-cv-05668; and Target Corp. v.

12   Technicolor SA, No. 13-cv-05686 are dismissed WITH PREJUDICE.

13            IT IS SO ORDERED.

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15   DATED:
                                                Hon. Samuel Conti
16                                              United States District Judge
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     [PROPOSED] ORDER GRANTING THOMPSON         2                        No. 07-5944-SC; MDL No. 1917
     CONSUMER’S MOTION TO DISMISS NEWLY
     FILED DAP COMPLAINTS
